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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA
____________________________________
                                            )
Keren Kayemeth LeIsrael-                    )
Jewish National Fund, et al.                )
                                            )
                   Plaintiffs,              )
                                            )
      v.                                    )  Civil Action No. 1:19-cv-03425
                                            )
Education for a Just Peace in the Middle East)
d/b/a US Campaign for Palestinian Rights )
                                            )
                   Defendant.               )
____________________________________)


                              [TENDERED] ORDER
      This matter having come before the Court on Plaintiffs’ Motion for

Reconsideration pursuant to Fed. R. Civ. P. 59(e),

      And the Court having been sufficiently advised, it is hereby ORDERED that

Plaintiffs’ Motion is GRANTED and the Court’s Order of March 29, 2021 [D.E.

27] dismissing Plaintiffs’ claims is vacated.

      IT IS SO ORDERED on this the _______ day of ______, 2021.

                                                     _____________________________
                                                     Judge Richard J. Leon
                                                     United States District Court for the
                                                     District of Columbia
